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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.: 15-cv-61446-BLOOM/Valle

 CIRCUITRONIX, LLC,
 a Florida limited liability company,

        Plaintiff,

 v.

 SUNNY KAPOOR,
 an individual

       Defendant.
 ___________________________________/

 SUNNY KAPOOR,
 an individual

        Counter-Plaintiff,

 v.

 RISHI KUKREJA,
 an individual, and

 CIRCUITRONIX, LLC,
 a Florida limited liability company

       Counter-Defendants.
 ___________________________________/

                   CIRCUITRONIX’S REPLY IN SUPPORT OF
            MOTION TO DISMISS AND REQUEST FOR ATTORNEYS’ FEES
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        Mr. Kapoor’s claim for civil theft against Circuitronix fails as a matter of law because the

 claim does not go beyond, and is not independent from, a failure to comply with the terms of a

 contract.   Rather, Mr. Kapoor’s civil theft claim against Circuitronix is entirely based on

 Circuitronix’s alleged failure to pay Mr. Kapoor wages specified in the employment contract

 between Circuitronix and Mr. Kapoor. Unpaid wages from an employment agreement are not

 distinct “property” that is stolen if an employee is not paid. The alleged “theft” of Mr. Kapoor’s

 wages is plainly encompassed by the contractual relationship between the parties and therefore

 cannot support a civil theft claim.

        Circuitronix did not commit theft by taking action to enforce the employment agreement.

 The employment agreement does not create distinct property, so nothing has been stolen. Such a

 reckless claim is “without substantial fact or legal support,” Fla. Stat. §772.11(1), so Circuitronix

 should be awarded attorney’s fees.

                                           ARGUMENT

        Mr. Kapoor’s claim for civil theft (Count III) against Circuitronix must be dismissed. His

 claim is that Circuitronix “Knowingly retained wages earned by Mr. Kapoor,” which he contends

 constitutes “theft” of his “property.” Counterclaim [D.E. 18, at ¶ 39]. Such a claim is meritless.

 Unpaid wages are not an employee’s property, and a corporation that enforces an employment

 agreement has not committed theft.

        Civil theft generally cannot arise from the breach of a contractual obligation. Walker v.

 Figarola, 59 So. 3d 188, 190 (Fla. 3d DCA 2011) (“Where damages sought in tort are the same as

 those for breach of contract a plaintiff may not circumvent the contractual relationship by bringing

 an action in tort”). Where, as here, the alleged “theft” is of unpaid wages specified in an

 employment contract, the alleged “theft” is plainly encompassed by the contractual relationship



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 between the parties and no action for civil theft may be maintained. Tulepan v. Roberts, 2015 U.S.

 Dist. LEXIS 5488, *26, 2015 WL 235441 (S.D. Fla. Jan. 16, 2015) (civil theft claim fails as a

 matter of law “because there is a contractual relationship between the parties, and because that

 relationship plainly encompasses the alleged theft of Plaintiff’s unpaid wages”).

        Here, Mr. Kapoor alleges civil theft against Circuitronix for “wages earned” on the basis

 of his employment contract with Circuitronix. See Counterclaim ¶¶ 16, 39. Because Mr. Kapoor’s

 allegations of civil theft derive from his contractual employment relationship with Circuitronix,

 there is no basis for this claim under Florida law.

        Although Mr. Kapoor has argued that the mere existence of a contractual relationship does

 not preclude a claim of civil theft in some circumstances [D.E. 18, passim], he must still show his

 property has been stolen, and that he cannot do. Moreover, Mr. Kapoor fails to allege any “theft”

 that goes beyond, and is independent from, a failure to comply with the terms of a contract. See

 Gasparini v. Pordomingo, 972 So.2d 1053 (Fla. 3d DCA 2008).

        Mr. Kapoor alleges that Circuitronix wrongfully withheld wages payable to him under the

 employment contract, in breach of its terms, and that this was done in retaliation for Mr. Kapoor’s

 failure to participate in “unethical and unlawful practices by Circuitronix.” [D.E. 18, at ¶ 12].

 However, unlike the cases cited by Mr. Kapoor in his opposition brief, Mr. Kapoor does not allege

 that Circuitronix acted with felonious intent at the time the employment agreement was entered

 into. See Gordon v. Omni Equities, Inc., 605 So. 2d 538, 541 (Fla. 1st DCA 1992) (distinguishing

 cases where “there was no allegation of a felonious intent at the time the agreement was entered

 into”); see also Simdag/Robel, LLC v. Providence Funding, Inc. (In re Simdag/Robel, LLC), 2009

 U.S. Dist. LEXIS 35782, *8, 2009 WL 975784 (M.D. Fla. Apr. 10, 2009) (Plaintiff alleged that

 the defendants induced the plaintiff to sign the contract with felonious intent at the time).



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 Accordingly, even assuming for purposes of argument only that his allegations are true, Mr.

 Kapoor has failed to state a claim for civil theft against Circuitronix, and Count III of the

 Counterclaim must be dismissed. Further, the record in this case will show that these allegations

 are false and that Mr. Kapoor engaged in unlawful practices.

        Mr. Kapoor’s civil theft claim is also “without substantial fact or legal support,” Fla. Stat.

 §772.11(1), so Mr. Kukreja is entitled to an award of attorney’s fees. Section 772.11(1) states:

 “The defendant is entitled to recover reasonable attorney’s fees and costs in the trial and appellate

 courts upon a finding that the claimant raised a claim without substantial fact or legal support.”

 This standard is less stringent than the frivolousness standard. See Bronson v. Bronson, 685 So.

 2d 994 (Fla. 5th DCA 1997). Here, however, the theft claim is frivolous. A company enforcing

 an employment agreement does not commit theft. There is no allegation, much less clear and

 convincing evidence, that Mr. Kapoor lost distinct property he owns, that Circuitronix stole any

 such property, or that Circuitronix acted with felonious intent when the employment contract

 between the parties was signed. The Court should therefore award Circuitronix a reasonable

 attorney’s fee.

                                          CONCLUSION

        For the foregoing reasons, Circuitronix respectfully requests that the Court dismiss Mr.

 Kapoor’s civil theft claim against Circuitronix (Count III – Civil Theft), award a reasonable

 attorney’s fee under §772.11(1), Florida Statutes, and grant such further relief as is just and

 equitable.

                                           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission of

 Notices of Electronic Filing generated by CM/ECF on September 28, 2015 as filed with the Clerk of

 the Court using CM/ECF.


                                             By: /s/ James M. Slater
                                                 James M. Slater
 EP1349




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